
958 A.2d 463 (2008)
196 N.J. 531
In the Matter of Edward Allen MacDUFFIE, Jr., an attorney at law (Attorney No. XXXXXXXXX).
No. D-2 September Term 2008
Supreme Court of New Jersey.
October 17, 2008.

ORDER
The Disciplinary Review Board having filed with the Court its decision in DRS 08-150, concluding that EDWARD ALLEN MACDUFFIE, JR., of LAVALLETTE, who was admitted to the bar of this State in 1971, should be reprimanded for violating RPC 1.7(a)(1) (conflict of interest), and RPC 1.15(a) (failure to safekeep property), and good cause appearing;
It is ORDERED that EDWARD ALLEN MACDUFFIE, JR., is hereby reprimanded; and it is further
ORDERED that the entire record of this matter be made a permanent record of respondent's file as an attorney at law of this State; and it is further
ORDERED that respondent reimburse the Disciplinary Oversight Committee for appropriate administrative costs *464 and actual expenses incurred in the prosecution of this matter, as provided in Rule 1:20-17.
